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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Devon Bank, et al.
                                        Plaintiff,
v.                                                         Case No.: 1:17−cv−09286
                                                           Honorable John Z. Lee
United States of America, et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 11, 2018:


        MINUTE entry before the Honorable John Z. Lee:Status and motion hearing held
on 9/11/18. Plaintiffs' motion for scheduling order and trial date certain [55] is granted in
part and denied. Plaintiffs' expert witnesses should be disclosed by 12/3/18; Plaintiffs
expert witness depositions should be completed by 3/1/19; Defendants' experts are to be
disclosed by 3/4/19; Defendants' expert witness depositions should be completed by
5/31/19; the close of expert discovery is 5/31/19. All fact depositions should be completed
by 11/30/18. Plaintiffs' motion for leave to file additional appearance of David S. Atlas
[57] is granted. Status hearing set for 12/6/18 at 9:00 a.m. Mailed notice(ca, )




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